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                                Objection Deadline: June 20, 2019 at 4:00 p.m. (Prevailing Eastern Time)


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     Jerry L. Hall, Esq. (admitted pro hac vice)                 KATTEN MUCHIN ROSENMAN LLP
     Cindi M. Giglio, Esq.                                       525 W. Monroe Street
     KATTEN MUCHIN ROSENMAN LLP                                  Chicago, IL 60661
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     New York, NY 10022                                          Facsimile:     (312) 902-1061
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     cindi.giglio@kattenlaw.com


     Counsel to Debtors and Debtors-in-Possession

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                 )
     In re:                                                      )        Chapter 11
                                                                 )
     SIZMEK INC., et al.,1                                       )        Case No. 19-10971 (SMB)
                                                                 )
                                       Debtors.                  )        (Jointly Administered)
                                                                 )

        FOURTH NOTICE OF REJECTION OF CERTAIN EXECUTORY CONTRACTS
                           AND UNEXPIRED LEASES

                   PLEASE TAKE NOTICE that, on May 21, 2019, the United States Bankruptcy

 Court for the Southern District of New York (the “Court”) entered the order [Docket No.183] (the

 “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to Bankruptcy

 Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy

 Rule 6006-1, authorizing and approving, among other things, procedures for Debtors to reject

 executory contracts and unexpired leases (each a “Contract”).



 1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. and
      (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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                PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order

 and by this written notice (this “Rejection Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in

 Schedule 1, or such other date as Debtors and the counterparty or counterparties to such

 Contract(s) agree.

                PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 rejection of any Contract listed in Schedule 1 must file and serve a written objection, so that such

 objection is filed with the Court and is actually received no later than fourteen (14) calendar days

 after the date that Debtors served this Rejection Notice, upon the following parties: (i) counsel to

 Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven

 J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W. Monroe

 Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii) the Office

 of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New

 York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii) counsel to the

 Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Americas,

 39th Floor, Los Angeles, CA 90067, Attn: Thomas E. Patterson and David A. Filder

 (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); and (iv) proposed counsel to the Committee,

 Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael Klein

 (svanaalten@cooley.com and mklein@cooley.com).

                PLEASE TAKE FURTHER NOTICE that, absent an objection being timely

 filed, the rejection of any Contract listed on Schedule 1 shall become effective on the Rejection

 Date set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i)



                                                  2
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 Debtors withdraw such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Rejection Date, upon another such date.3

                  PLEASE TAKE FURTHER NOTICE that, if a timely objection to the rejection

 of any Contract listed on Schedule 1 is timely filed and not withdrawn or resolved, Debtors shall

 file a notice of hearing to consider the unresolved objection. If such objection is overruled or

 withdrawn, Debtors will file with the Court a proposed order under certification of counsel (the

 “Rejection Order”) confirming the absence of a timely objection and the rejection of the

 Contract(s), and such Contract(s) shall be deemed rejected as of the Rejection Date set forth in

 Schedule 1 or such other date as Debtors and the counterparty or counterparties to such Contract(s)

 agree.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, if

 Debtors have deposited monies with a Contract counterparty as a security deposit or other

 arrangement, the Contract counterparty may not set off or recoup or otherwise use such monies

 without further order of the Court, unless Debtors and the counterparty or counterparties to such

 Contract(s) otherwise agree.

                  PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of Debtors that is listed and described in Schedule 1 shall be deemed abandoned as of

 the Rejection Date set forth on Schedule 1.

                  PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert any

 claim(s) arising out of the rejection of your Contract(s) listed on Schedule 1, you must do so before




 3
     An objection to the rejection of any particular Contract listed in Schedule 1 to this Rejection Notice shall not
     constitute an objection to the rejection of any other Contract listed in Schedule 1. Any objection to the rejection
     of any particular Contract must state with specificity the Contract to which it is directed. For each particular
     Contract whose rejection is not timely or properly objected to, such rejection will be effective in accordance
     with this Rejection Notice and the Order

                                                           3
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 the later of (i) thirty (30) days after the date of service of the Rejection Order and (ii) any applicable

 claims bar date for filing proofs of claim established in these chapter 11 cases. FAILURE TO

 TIMELY FILE ANY PROOF OF CLAIM SHALL RESULT IN SUCH CLAIM BEING

 FOREVER BARRED.



 Dated: June 6, 2019                                     /s/ Steven J. Reisman
 New York, New York                                      KATTEN MUCHIN ROSENMAN LLP
                                                         Steven J. Reisman, Esq.
                                                         Jerry L. Hall, Esq. (admitted pro hac vice)
                                                         Cindi M. Giglio, Esq.
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                                                         -and-

                                                         Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                                         KATTEN MUCHIN ROSENMAN LLP
                                                         525 W. Monroe Street
                                                         Chicago, IL 60661
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                                                         Email:      peter.siddiqui@kattenlaw.com

                                                         Counsel to Debtors and Debtors-in-Possession




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                                                                          SCHEDULE 1

                                                                       Rejected Contracts

  Debtors(s)      Counterparty                                Counterparty                           Description of
                                                                                                                 Abandoned              Rejection
   Party to                                                     Address                                Contract    Personal               Date
  Contract                                                                                                        Property1
Sizmek DSP, CREFII-SCC, LLC (as                   CREFII-SCC, LLC                 Agreement of Lease, dated as All remaining           June 15, 2019
Inc.         successor-in-interest to             c/o Capital Equities Group, LLC of July 31, 2008, as amended, personal
             Sono Equities, LLC and               50 Washington Street, 7th Floor modified or otherwise         property
             1122 Associates, LLC)                Norwalk, CT 06854               supplemented
                                                                                                                Approximate
                                                                                                                Book Value:
                                                                                                                $0.00
Sizmek DSP, Sono Corporate Suites,                Sono Corporate Suites, LLC      Rack Space Agreement, dated All remaining            June 15, 2019
                                                                          th
Inc.        LLC                                   50 Washington Street, 7 Floor September 30, 2008, as          personal
                                                  Norwalk, CT 06854               amended, modified or          property
                                                                                  otherwise supplemented
                                                                                                                Approximate
                                                                                                                Book Value:
                                                                                                                $0.00




1
    All of the Abandoned Personal Property listed herein is either burdensome to remove or of inconsequential value.
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  Debtors(s)      Counterparty              Counterparty                Description of           Abandoned     Rejection
   Party to                                   Address                     Contract                Personal       Date
  Contract                                                                                        Property1
Sizmek DSP, Internap Network        Internap Network Services    Internap Master Services       N/A           June 6, 2019
Inc.         Services Corp.         250 Williams Street          Agreement, including all
                                    Suite E-100                  related Orders or Schedules,
                                    Atlanta, GA 30303            as amended, modified or
                                    Attn: VP of Finance          otherwise supplemented
                                    and
                                    Internap Network Services
                                    250 Williams Street
                                    Suite E-100
                                    Atlanta, GA 30303
                                    Attn: General Counsel
                                    and
                                    Internap Network Services
                                    One Ravinia Dr. Suite 1300
                                    Atlanta, GA 30346
                                    Attn: General Counsel
                                    and
                                    Gibbons P.C.
                                    One Gateway Center
                                    Newark, NJ 07102
                                    Attn: Dale E. Barney




                                                            2
